      2:19-cv-03456-BHH          Date Filed 08/25/20       Entry Number 41      Page 1 of 9




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                    Charleston Division

 Nelson L. Bruce,                               )
                                                )
                                     Plaintiff, )     Civil Act. No. 2:19-cv-03456
                                                )
              v.                                )
                                                )
 Bank of America, N.A.,                         )
                                                )
                                    Defendant. )
                                                )

                       DEFENDANT’S RESPONSE IN OPPOSITION
                    TO PLAINTIFF’S MOTION TO AMEND PLEADINGS

          Pursuant to Rules 16(b) and 15(a) of the Federal Rules of Civil Procedure, Defendant Bank

of America, N.A. (“BANA”), by counsel, hereby objects to the Motion to Amend Pleading

(“Motion to Amend”) filed by Plaintiff Nelson L. Bruce (“Plaintiff”). Because nothing in the

Motion demonstrates that good cause compels modification of the Court’s scheduling order or that

the amendment of the Plaintiff’s complaint is not futile, Plaintiff’s Motion to Amend should be

denied.

                                        INTRODUCTION

          Mr. Bruce’s attempt to amend his pleadings must be denied. First, Mr. Bruce’s motion to

amend is not timely, and he failed to explain why the court should grant him additional time to file

an untimely Motion to Amend. Second, even if the court granted additional file the Motion to

Amend, amendment under Rule 15(a) of the Federal Rules is not possible because the proposed

amendment is futile. Here, the allegations in Mr. Bruce’s amended complaint show that his new

Fair Credit Report Act (“FCRA”) claim and South Carolina Consumer Protection Code




                                             Page 1 of 9
      2:19-cv-03456-BHH             Date Filed 08/25/20         Entry Number 41          Page 2 of 9




(“SCCPC”) claim are time barred. Additionally, the SCCPC claim is preempted by the FCRA.

Accordingly, the untimely Motion to Amend must be denied.

                                             BACKGROUND

        This case is Mr. Bruce’s sixth case involving Bank of America, N.A. As noted in BANA’s

response to Mr. Bruce’s Petition for Order Confirming Arbitration Award in case no. 2:19-cv-

02584, 1 this action is advancing during the pendency of a state-court foreclosure that is before the

S.C. Court of Common Pleas for Dorchester County, South Carolina (“State Court”). Being

largely unsuccessful with litigating the merits of the foreclosure action before the State Court, Mr.

Bruce is now attempting to amend his complaint for this action to allege time barred an additional

FCRA and state law claims. Moreover, the FCRA preempts the state law claim alleged in the

Motion to Amend.

        Currently, Mr. Bruce’s complaint alleges a violation of the FCRA arising from purported

unauthorized credit inquiries by BANA after BANA purportedly transferred ownership Mr.

Bruce’s mortgage loan to third party. (ECF. No. 1, Compl. ¶¶ 23-24.) In the amended complaint,

Mr. Bruce wants to allege additional violations of the FCRA and the SCCPC based upon purported

inaccurate reporting, defective investigation, and unfavorable resolution of Mr. Bruce’s credit

disputes by BANA; his loan servicer, Carringtom Mortgage Services LLC; and Experian

Information Solutions, Inc. (ECF No. 39, Mot. to Am. ¶¶ 17-24.) As detailed in the following

arguments, none of these new claims are viable under existing federal or state law. Thus, Mr.

Bruce’s motion to amend complaint must be denied because his amendments to assert these new

claims are futile.



1
 BANA’s Response in Opposition to Petition for Order Confirming Arbitration Award provides a summary of the
multiple cases the Mr Bruce has with BANA. (See, Bruce v. Bank of America, N.A., et al., Civ Act No. 2:19-cv-
2854, Doc No. 44 at pp. 2-4.)

                                                 Page 2 of 9
        2:19-cv-03456-BHH       Date Filed 08/25/20      Entry Number 41      Page 3 of 9




                                 STANDARD FOR DECISION

         “Once a scheduling order's deadline for amendment of pleadings has passed, a movant

must first demonstrate to the court that it has a ‘good cause’ for seeking modification of the

scheduling deadline under Rule 16(b).” Dilmar Oil Co., Inc. v. Federated Mut. Ins. Co., 986 F.

Supp. 959, 980 (D.S.C. 1997) (emphasis theirs). “If the movant satisfies Rule 16(b)'s ‘good cause’

standard, it must then pass the requirements for amendment under Rule 15(a).” Id. (emphasis

theirs). In the Fourth Circuit, “leave to amend a pleading should be denied only when the

amendment would be prejudicial to the opposing party, there has been bad faith on the part of the

moving party, or the amendment would have been futile.” Laber v. Harvey, 438 F.3d 404, 426-27

(4th Cir. 2006) (quoting Johnson v. Oroweat Food Co.. 785 F.2d 503, 509 (4th Cir. 1986)).

                                          ARGUMENT

   I.       Mr. Bruce’s non-compliance with the Court’s scheduling order compels denial
            of the Motion to Amend.

         Pursuant to the Court’s scheduling order, the late-filed Motion to Amend must be denied.

Mr. Bruce filed his Motion to Amend on August 18, 2020, when he filed a reply to BANA’s

response in opposition to his motion for extension of time to file amended pleadings. (ECF No.

37, Text Order.) The Court’s scheduling order, however, required any motion to join other parties

or amend pleadings to be filed “no later than July 24, 2020.” (ECF No. 23.) In the District of

South Carolina, “[o]nce a scheduling order’s deadline for amendment of pleadings has passed, a

movant must first demonstrate to the court that it has a ‘good cause’ for seeking modification of

the scheduling deadline under Rule 16(b).” Dilmar Oil Co., Inc. v. Federated Mut. Ins. Co., 986

F. Supp. 959, 980 (D.S.C. 1997) (emphasis theirs).

         Neither Mr. Bruce’s Motion for Extension of Time (ECF No. 29) nor the Motion to Amend

details any good cause for the Court to consider the late-filed Motion to Amend under Rule 16(b).

                                           Page 3 of 9
      2:19-cv-03456-BHH          Date Filed 08/25/20      Entry Number 41       Page 4 of 9




Further, this Court has already entered an order denying Mr. Bruce’s request for additional time to

file a motion to amend pleadings. Therefore, the Motion to Amend must be denied as untimely.

         As explained by this Court previously, “good cause” in the context of extension of time

under Rule 16(b) “means that the scheduling deadlines cannot be met despite a party’s diligent

efforts.” Id. (citing 6A Charles A. Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice

§ 1522.1 at 231 (2d ed. 1990)). Here, the Motion to Amend actually reflects that Mr. Bruce failed

to exercise any diligence whatsoever to assert his new FCRA claim and SCCPC claim within the

prescribed statute of limitations. In the Motion to Amend, Mr. Bruce concedes that he was aware

of the facts and circumstances giving rise to all of his FCRA claims and SCCPC claim by stating

that his “[d]iscovery of the violations brought forth herein this amended complaint started in

September 2015….” (ECF 39, Mot. to Am. at ¶ 59.) Moreover, the letter that is dated November

9, 2015 and is appended to the Motion to Amend confirms that Mr. Bruce knew of the issues

arising from the appearance a mortgage loan with BANA on his Experian credit report in 2015.

(ECF 39-1, Exhibits to Mot. to Am. at 2-3.) Waiting over four years to assert the new FCRA and

SCCPC claims that he wants to add to his action is not the due diligence contemplated by Rule

16(b) to permit consideration of the late-filed Motion to Amend. Accordingly, the Motion to

Amend should be denied for non-compliance with the Court’s scheduling order.

   II.      Because the new FCRA and SCCPC claims are time barred and because the
            SCCPC claim is preempted, Mr. Bruce’s proposed amendments are futile.

         Even if the Court decided to consider the late-filed Motion to Amend, the Motion must still

be denied because the proposed amendment is futile. Here, the new FCRA and SCCPC claims are

time barred. Additionally, the FRCA preempts SCCPC claim. Under these circumstances, the

Motion to Amend must be denied. See, e.g., Meisner v. Zymogenetics, Inc., C/A No,. 3:15-cv-

3523-CMC, 2016 WL 4858741, at *6-*7 (D.S.C. Sep. 15, 2016) (denying motion to amend

                                            Page 4 of 9
      2:19-cv-03456-BHH          Date Filed 08/25/20      Entry Number 41       Page 5 of 9




complaint where additional claims were barred by applicable statute of limitation and doctrine of

res judicata).

            a. Applicable statutes of limitation preclude the new FCRA and SCCPC claims
               identified in the Motion to Amend.

        Both the new FCRA claim and SCCPC claim in the Motion to Amend are time barred.

        In his proposed amended complaint, Mr. Bruce alleges that his new FCRA claim and the

SCCPC claim are based upon allegedly inaccurate credit reporting of a mortgage loan tradeline

the he thinks is not his. (ECF 39-1, Exhibit to Mot. to Am. at 2-3.) He also alleges that the

mortgage loan was inaccurately reported with an incorrect balance (ECF 39, Mot. to Am. at ¶ 63)

and was not verified or enforced by the holder of the mortgage loan. (Id. at ¶ 64.) In short, Mr.

Bruce believes that the appearance of the mortgage loan identified in his proposed amended

complaint on his credit report and the failure to remove the mortgage loan from this credit report

violate the FCRA and SCCPC. Critically, however, the Motion and materials appended to it reflect

that Mr. Bruce was aware of these issues with the mortgage loan tradeline appearing on his credit

report in 2015. (Id. at ¶ 69.)

        Thus, under the allegations in the proposed amended complaint, Mr. Bruce’s new FCRA

claim is barred by the two-year statute of limitation provided by 15 U.S.C. § 1681p. See Croft v.

Bayview Loan Servicing, LLC, 166 F. Supp. 3d 638 (D.S.C. 2016). Additionally, the SCCPC

claim—which is based on the same allegations giving rise to the new FCRA claim—is barred by

the three-year statute of limitation prescribed by S.C. Code Ann. § 15-3-540(2). See Tilley v.

Pacesetter Corp., 508 S.E. 2d 16, 20 (S.C. Sup. Ct. 1998) (applying three-year statute of limitation

of § 15-3-540(2) to SCCPC chapter that contained no other limitation period).




                                            Page 5 of 9
      2:19-cv-03456-BHH          Date Filed 08/25/20       Entry Number 41         Page 6 of 9




                   i. The FCRA’s two-year limitation period bars the new FCRA claim
                      alleged in Mr. Bruce’s Motion to Amend.

        Mr. Bruce’s new FCRA claim is time barred. The FCRA precludes claims asserted more

than two years after discovery of an FCRA violation as follows:

        An action to enforce any liability created under this subchapter may be brought in
        any appropriate United States district court, without regard to the amount in
        controversy, or in any other court of competent jurisdiction, not later than the
        earlier of—

               (1) 2 years after the date of discovery by the plaintiff of the violation that is
                   the basis for such liability; or

               (2) 5 years after the date on which the violation that is the basis for such
                   liability occurs.

15 U.S.C. § 1681p (emphasis added).

        In the Motion to Amend, Mr. Bruce states that he discovered the circumstances giving rise

to the new FCRA claim as early as September 2015. (ECF 39, Mot. to Am. at ¶ 69; ECF 39-1,

Exhibits to Mot. to Am. at 2-3.) Because Mr. Bruce admits discovering the FCRA violations

giving rise to his new claims “in the month of September 2015,” the two-year limitation period

applies. See, e.g., Croft, 166 F. Supp. 3d at 641 (applying two-year statute of limitation where

plaintiff’s deposition testimony reflected knowledge of alleged FCRA violation as of October 30,

2012). Accordingly, because Mr, Bruce is trying to amend his complaint to assert his additional

FCRA claim as of December 12, 2019—which is the date he filed his original complaint and more

than four years after discovery of the alleged violation—the additional FCRA claim is time barred

and futile.

                   ii. The three-year statute of limitation provided by S.C. Code Ann. § 15-
                       3-540(2) precludes the SCCPC claim.

        The SCCPC claim identified in the Motion to Amend is also time barred. According to

Mr. Bruce, the SCCPC claim is based on the same allegations giving rise to the new FCRA claim.

                                             Page 6 of 9
      2:19-cv-03456-BHH         Date Filed 08/25/20       Entry Number 41        Page 7 of 9




(ECF 39 Mot. to Am. at ¶¶ 126-130.) Thus, Mr. Bruce also knew of the circumstances giving rise

to the SCCPC claim as of September 2015. Under South Carolina law, claims asserted under S.C.

Code Ann. § 37-20-110 et seq. are subject to the three year statute of limitation provided by S.C.

Code Ann. § 15-3-540(2). See Tilley v. Pacesetter Corp., 508 S.E. 2d 16, 20 (S.C. Sup. Ct. 1998)

(applying three-year statute of limitation of § 15-3-540(2) to SCCPC chapter that contained no

other limitation period). Because Mr. Bruce is attempting to amend the original complaint to assert

his SCCPC claim as of December 12, 2019, which is more than four years after his discovery of

the circumstances giving rise to the claim, the SCCPC claim is time barred under South Carolina

law and futile.

           b. The SCCPC claim fails because the FCRA preempts it.

       In addition to being time barred, the SCCPC claim is preempted by the FCRA. See

Muntean v. Discover Fin. Servs., C/A No. 6:13-cv-1151-HMH, 2013 WL 2636003, at *4 (D.S.C.

June 12, 2013) (holding that the FCRA’s preemption provision preempts claims under S.C. Code

Ann. § 37-20-170). In the Motion to Amend, Mr. Bruce focuses on BANA’s alleged reporting of

inaccurate information, alleged failure to investigate his dispute, and alleged failure to correct or

remove the mortgage loan tradline from his credit report as the basis to assert his SCCPC claim.

(ECF 39, Mot. to Am. at ¶¶ 127-129.)

       The Court addressed similar allegations in Muntean v. Discover Fin. Servs and applied the

doctrine of preemption to dismiss a plaintiff’s FCRA claim based on a furnisher’s inaccurate

reporting. Muntean. 2013 WL 2636003, at *4. Critically, the Court recognized that the activities

that Mr. Bruce alleges to raise his SCCPC claim are squarely regulated by the FCRA under 15

U.S.C. § 1681s-2, which the Fourth Circuit described as follows:

       Section 1681s–2 describes the responsibilities of those who report credit
       information to CRAs. Section 1681s–2(a) explains the “[d]uty of furnishers of

                                            Page 7 of 9
      2:19-cv-03456-BHH        Date Filed 08/25/20       Entry Number 41       Page 8 of 9




       information to provide accurate information,” which includes correcting any errors
       in reporting. 15 U.S.C. § 1681s–2(a)(1)–(2). Section 1681s–2(b) contains the
       duties of furnishers of information “[a]fter receiving notice ... of a dispute with
       regard to the completeness or accuracy of any information provided by a person to
       a consumer reporting agency.” 15 U.S.C. § 1681s–2(b)(1). These duties include
       conducting an investigation into the dispute and correcting any errors discovered
       with the CRAs.

Ross v. F.D.I.C., 625 F.3d 808, 812 (4th Cir. 2010)

       In the Motion to Amend, it is clear that Mr. Bruce wants to secure a remedy under the

SCCPC for BANA’s alleged inaccurate credit reporting and purported failure to investigate an

inaccuracy on his credit report and correct it. (ECF 39, Mot. to Am. at ¶¶ 126-130.) But because

such activities are directly regulated by the provisions of 15 U.S.C. § 1681s-2, the FCRA preempts

the SCCPC claim. See 15 U.S.C. § 1681t(b)(1)(F); see also Muntean. 2013 WL 2636003 at *4

(quoting in part Ross 625 F.3d 808 at 812). Accordingly, amendment of the complaint to include

the SCCPC claim is also futile under the doctrine of preemption.

                                        CONCLUSION

       The Motion to Amend was not timely filed. Further, the allegations in the Motion to

Amend show that the additional FCRA and SCCPC claims are time barred under applicable statute

of limitations, and the SCCPC claim is also preempted by FCRA’s provisions. Accordingly, Mr.

Bruce’s Motion to Amend is futile. Given the substantive defects in the Motion to Amend, the

Court should deny the Motion to Amend and grant BANA such further relief that is just and

warranted.

        Respectfully submitted on this 25th day of August, 2020.

                                             By: /s/ Brian A. Calub
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                                           Page 8 of 9
      2:19-cv-03456-BHH        Date Filed 08/25/20      Entry Number 41       Page 9 of 9




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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 25, 2020, the foregoing Defendant’s Response in Opposition

to Plaintiff’s Motion to Amend Pleadings was filed via the court’s CM/ECF system and served by

First Class U.S. Mail with postage prepaid upon the following:

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                                          Page 9 of 9
